                           Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 1 of 28 PageID #: 1

TO: Clerk’s Office
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
________________________________________

     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                           A) If pursuant to a prior Court Order:
********************************                                                           Docket Number of Case in Which Entered:___________________
UNITED STATES
                                                                                           Judge/Magistrate Judge:__________________________________
                                                                                           Date Entered:___________________________________________
             -v.-                                     24-MJ-196
        -v.-                                          _____________________
MING HUANG CHEN et al.                                Docket Number

********************************
                                                                                           B) If a new application, the statute, regulation, or other legal basis that
                                               ✔
SUBMITTED BY: Plaintiff____ Defendant____ DOJ ____                                         authorizes filing under seal
                Kamil R. Ammari
Name:__________________________________________
Firm Name:______________________________________
                USAO-EDNY                                                                  __________________________________________________________
                                                                                           Ongoing criminal investigation
Address:_________________________________________
                271A Cadman Plaza East                                                     __________________________________________________________
________________________________________________
                Brooklyn, New York 11201
Phone Number:___________________________________
                718-254-6075                                                               ORDERED SEALED AND PLACED IN THE CLERK’S OFFICE,
E-Mail Address:___________________________________
                Kamil.Ammari@usdoj.gov                                                     AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                           THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO ✔ __
If yes, state description of document to be entered on docket sheet:                       DATED: Brooklyn                          , NEW YORK

__________________________________________________                                         _________________________________________________________

__________________________________________________                                         U.S. MAGISTRATE JUDGE

                                                                                           RECEIVED IN CLERK’S OFFICE___________________________
                                                                                                                            DATE
MANDATORY CERTIFICATION OF SERVICE:
A.) ___ A copy of this application either has been or will be promptly served upon all parties to this action, B.) ___ Service is excused by 31 U.S.C. 3730(b), or by
                                                          ✔
the following other statute or regulation:______; or C.) ____This is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)

                           March 4, 2024
                           __________________                  ______________________________
                                                                ____________________________
                              DATE                                      SIGNATURE
   Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 2 of 28 PageID #: 2




KTF:KRA
F. #2023R00775

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - X

UNITED STATES OF AMERICA                                           COMPLAINT AND
                                                                   AFFIDAVIT IN SUPPORT
                                                                   OF AN APPLICATION FOR
         - against –                                               AN ARREST WARRANT

MING HUANG CHEN,                                                   (T. 18, U.S.C., § 371)
  also known as “JOE CHEN,”
HANGMING FANG,
RUNHUA HOU,                                                        No. 24-MJ-196
  also known as “RACHEAL HOU,”
HANGTING LIN,
MINGHAO LIN, and
SHANQING OU,

                                 Defendants.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - X

EASTERN DISTRICT OF NEW YORK, SS:

                    LUIGI STOLFA, being duly sworn, deposes and states that he is a Special Agent

with the United States Department of Agriculture (“USDA”), Office of Inspector General (“OIG”),

duly appointed according to law and acting as such.

                    In or about and between at least August 2022 and May 2023, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the defendants

MING HUANG CHEN, also known as “JOE CHEN,” HANGMING FANG, RUNHUA HOU,

also known as “RACHEAL HOU,” HANGTING LIN, MINGHAO LIN and SHANQING OU,

together with others, did knowingly and willfully conspire to commit an offense against the United

States, to wit: Title 18, United States Code, Section 545, by unlawfully importing merchandise
   Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 3 of 28 PageID #: 3




into the United States and receiving, concealing, buying, selling and facilitating the transportation,

concealment, and sale of illegally imported merchandise.

                  (Title 18, United States Code, Section 371)

                  The source of your deponent’s information and the grounds for his belief are as

follows:1

    I.        Introduction and Agent Background

                  1.       I am a Special Agent with the USDA OIG and have been so employed for

approximately 14 years. Prior to working for the USDA, I spent 8 years in the U.S. Navy as an

intelligence specialist. During my time as a Special Agent with USDA, I have been involved in

many investigations relating to violations of federal law, including violations of the prohibitions

on importing illegal merchandise and subsequently trafficking in such merchandise.

                  2.       I am familiar with the facts and circumstances set forth below from my

participation in the investigation, from my review of documents obtained pursuant to the

investigation and from reports of other law enforcement officers involved in the investigation.

When I rely on statements made by others, such statements are set forth only in part and in

substance unless otherwise indicated.

    II.       Relevant Statutory and Regulatory Background

                  3.       The USDA’s Food Safety and Inspection Service (“FSIS”) is the public

health regulatory agency responsible for ensuring that domestic and imported meat, poultry and

egg products are safe, wholesome and correctly labeled and packaged. FSIS has authority to

inspect imported meat, see Federal Meat Inspection Act (FMIA) (21 U.S.C. § 601 et seq.), poultry,



          1
            Because the purpose of this complaint is to set forth only those facts necessary to establish probable cause
to arrest, I have not described all the relevant facts and circumstances of which I am aware.



                                                           2
  Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 4 of 28 PageID #: 4




see Poultry Products Inspection Act (PPIA) (21 U.S.C. § 451 et seq.), and eggs, see Egg Products

Inspection Act (EPIA) (21 U.S.C. § 1031 et seq.).

               4.      Countries must be certified to export meat and poultry products for

importation to the United States. See 21 U.S.C. §§ 620(a), (f) (meat); id. §§ 466(a), (d) (poultry).

Certification occurs through an “equivalence determination process” in which FSIS, in

coordination with a country’s “central competent authority,” evaluates that country’s food safety

inspection practices. See 9 C.F.R. § 327.2(a)(2) (standards for meat), id. § 381.196(a)(2) (poultry).

If the country passes, then specific establishments within that country may be approved to export

specific types of products to the United States.         See 9 C.F.R. § 327.2(a)(3) (meat); id.

§ 381.196(a)(3) (poultry).

               5.      The FSIS maintains a list of the products eligible to be imported into the

United States from each country achieving equivalence certifications, and of the establishments

within each country permitted to import specific types of products. See 9 C.F.R. § 327.2(b) (meat);

id. § 381.196(b) (poultry). For example, at all times relevant here, it has been illegal to import

meat (except for catfish) and poultry (except for “processed (heat-treated/cooked) poultry

products”) from China. See USDA, FSIS, China, available at https://www.fsis.usda.gov/sites/

default/files/media_file/documents/REV_CHINA_09-18-2023.pdf.

               6.      Specifically, at all times relevant to this investigation, the limitations

applicable to imports from China prohibited the importation of, among other things, (1) raw goose

and duck intestines from China; and (2) duck-blood products from any unapproved establishments

in China. See id. As described further below, all products seized in this investigation (1)

containing goose and duck intestines have been raw and (2) containing duck blood have been

processed but have not come from eligible establishments.




                                                 3
  Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 5 of 28 PageID #: 5




   III.    The Defendants

               7.      The defendant MING HUANG CHEN, also known as “JOE CHEN,” is a

non-U.S. citizen, from China, who lives in Brooklyn, New York. CHEN, working with others,

imports, transports and sells illegal merchandise from China to customers in the United States.

               8.      The defendant HANGMING FANG is a non-U.S. citizen, from China,

who resides in Brooklyn, New York. FANG, acting through his firm, Chu Feng Food Wholesale

(“Chu Food”), receives and sells illegal merchandise from China.

               9.      The defendant RUNHUA HOU, also known as “RACHEAL HOU,” is a

U.S. citizen who resides in Brooklyn, New York. HOU is the defendant MING HUANG

CHEN’s domestic partner. HOU assists CHEN and others in importing, transporting and selling

illegal merchandise.

               10.     The defendant HANGTING LIN (“HANGTING”) is a U.S. citizen who

resides in Brooklyn, New York. HANGTING assists the defendant MING HUANG CHEN and

others by transporting illegal merchandise to customers.

               11.     The defendant MINGHAO LIN (“MINGHAO”) is a U.S. Legal

Permanent Resident who resides in Queens, New York. MINGHAO assists the defendant MING

HUANG CHEN and others by transporting illegal merchandise to customers.

               12.     The defendant SHANQING OU is a U.S. Legal Permanent Resident who

resides in Brooklyn, New York. OU receives and sells illegal merchandise from China.

   IV.     Probable Cause

           a. Summary

               13.     Since at least as early as August 2022, the defendants MING HUANG

CHEN, HANGMING FANG, RUNHUA HOU, HANGTING LIN, MINGHAO LIN and




                                                4
  Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 6 of 28 PageID #: 6




SHANQING OU have participated in a conspiracy to import and distribute illegal meat, poultry

and other merchandise from China into the United States.

               14.     The shipments of illegal merchandise require the involvement of several

co-conspirators who play distinct, and sometimes overlapping, roles. They can be broadly

characterized as (1) “originators,” (2) “transporters” and (3) “wholesalers.”

               15.     The originators—who reside in China and California—recruit co-

conspirators and arrange for the transportation of illegal merchandise from China to California,

and then on to New York.

               16.     The transporters—who include the defendants MING HUANG CHEN,

RUNHUA HOU, HANGTING LIN, and MINGHAO LIN—help arrange transportation of the

illegal merchandise from California to New York, collect it upon its arrival in New York, and

deliver it by cargo van to the wholesalers. Like the wholesalers, at least CHEN and HANGTING

also appear to sell illegal merchandise directly to customers in the United States.

               17.     The wholesalers—who include the defendants SHANQING OU and

HANGMING FANG—take possession of the illegal merchandise from the transporters and offer

it for sale to their customers, including to restaurants in the New York City area.

           b. The August 19 Shipment

               18.     On or about August 19, 2022, a shipping container arrived at the Port of

Long Beach in Los Angeles, California from China (the “August 19 Shipment”). According to

the CBP custom forms for the August 19 Shipment, it held “1,966 cartons of pet grooming tool

pet nail clippers” that had been manufactured in Japan. The container in fact held illegal poultry

merchandise from China.




                                                 5
  Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 7 of 28 PageID #: 7




               19.    Over the following days, the container was collected from the Port of

Long Beach in Los Angeles, California, and its contents were unloaded. On August 25, 2022,

the contents were dropped off at Los Angeles International Airport (“LAX”) for shipment to

John F. Kennedy International Airport (“JFK”) in Queens, New York, via a major U.S. air

carrier’s cargo service (“Airline-1”), and were in fact shipped to Queens, New York.

               20.    Various records show the defendants MING HUANG CHEN, RUNHUA

HOU and MINGHAO LIN were responsible for the August 19 Shipment. For example:

                      a.      Airline-1 records for the August 19 Shipment list the sender as

“668 Seafood Market LLC” (“668 Seafood”) at an address on 8th Avenue in Brooklyn, New

York, and the recipient as “Minghao Lin” at an address in College Point, New York. The

recipient information on this airway bill matches the name and address that appear on

MINGHAO’s driver’s license.

                      b.      According to Airline-1 records, “Ming Chen” signed for and

collected this shipment from JFK on August 26. CHEN’s email address received a receipt

confirmation from Airline-1 in connection with another shipment to 668 Seafood, described

below. Airline-1 records also show that HOU’s phone number and email address have been used

for 668 Seafood shipments.

               21.    The August 19 Shipment was delivered from JFK to a walk-in freezer (the

“freezer”) rented by the defendant SHANQING OU at an address on 57th Street in Brooklyn,

New York. When confronted by an FSIS Investigator (“Investigator-1”), OU stated that he met

the transporter at the freezer, who showed OU an airway bill that the transporter had with him

from picking up the shipment, and it matched the August 19 Shipment’s airway bill. OU also




                                                6
  Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 8 of 28 PageID #: 8




stated that even before he received the shipment, a transporter with the phone number belonging

to the defendant MINGHAO LIN sent him an image of the August 19 Shipment’s airway bill.

           c. The November 4 Shipment

               22.     On or about November 4, 2022, an individual dropped off a shipment of

goods at LAX for delivery to JFK via Airline-1 (the “November 4 Shipment”). Airline-1 records

show that the shipment was incorrectly manifested as containing “frozen seafood.” The

packages delivered in fact held illegal poultry merchandise from China.

               23.     Airline-1 records for this shipment list the sender as 668 Seafood, provide

the defendant MINGHAO LIN’s number as the sender’s phone number, and list the recipient as

“JNJ Food Trading Inc.” at an address on 8th Avenue in Brooklyn, New York. Airline-1 records

show that a receipt confirmation corresponding to this shipment was sent to the defendant MING

HUANG CHEN’s email.

               24.     According to Airline-1 records, a “Minghao Lin” picked up the shipment

on November 5, 2022, using the company name “J & J Seafood.” Like the shipment described

above, this shipment was also transported to the defendant SHANQING OU’s freezer. When

confronted by Investigator-1, OU stated that he met the transporter at the freezer, and that a

different transporter than the one who delivered the prior shipment delivered this one. OU also

identified phone numbers belonging to the defendants MINGHAO LIN and HANGTING LIN as

the phone numbers of the transporters who delivered him merchandise.

           d. Seizure of Illegal Merchandise from the August 19 and November 4 Shipments

               25.     On or about November 9, 2022, Investigator-1 visited the defendant

SHANQING OU’s freezer for an inspection. Upon entering the freezer, Investigator-1 observed

a large number of packages. The packages bore stickers corresponding to the airway bills for the




                                                 7
  Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 9 of 28 PageID #: 9




August 19 and November 4 Shipments, as is depicted in Exhibits 1 and 2 below. As also shown

in Exhibit 1, the boxes were also marked with handwritten codes to identify the contents (e.g.,

for one shipment, “a” meant snake meat, “b” meant duck intestines, “c” meant goose intestines,

and “w” meant goose intestines), with a key set forth on at least one box (written in Mandarin, as

shown in Exhibit 1 below). In some packages, the products were also concealed beneath

packaged rattlesnakes, as depicted in Exhibit 3 below.




            Exhibit 1                        Exhibit 2                      Exhibit 3

                26.       Upon opening the boxes, Investigator-1 confirmed that they contained

illegal merchandise, including raw Han Luo Food brand goose intestines and Zhuangjie brand

duck intestines from China. Exhibit 4 below shows a sample of the illegal poultry merchandise,

and Exhibit 5 below shows the total volume of the illegal poultry merchandise seized during

Investigator-1’s visit:




                        Exhibit 4                                   Exhibit 5




                                                  8
 Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 10 of 28 PageID #: 10




               27.    In total, Investigator-1 observed 79 cartons containing approximately

1,800 pounds of illegal goose intestines and 960 pounds of illegal duck intestines.

           e. The November 19 Shipment

               28.    On or about November 19, 2022, Investigator-1 visited the JFK Airline-1

cargo loading dock, where he observed the collection of a third shipment (the “November 19

Shipment”). Airline-1 records identify the shipper of the November 19 Shipment as “668

Seafood Market LLC” and the recipient as “JNJ Food Trading,” with the defendant MINGHAO

LIN’s phone number listed for both entities. The November 19 Shipment, like the November 4

Shipment, was incorrectly manifested as containing “frozen seafood” but in fact contained

restricted hawthorn fruit from China, a restricted agricultural commodity. The contents of the

November 19 Shipment are depicted in Exhibits 6 and 7 below:




                     Exhibit 6                                      Exhibit 7

               29.    Investigator-1 observed the defendant MINGHAO LIN, whom he had

previously met and therefore recognized, collect the shipment from the JFK Airline-1 cargo

dock. MINGHAO collected the shipment using a white Ford cargo van registered to the

defendant MING HUANG CHEN.

               30.    On or about November 21, 2022, Investigator-1 confronted the defendant

SHANQING OU concerning the illegal merchandise Investigator-1 had identified at the freezer.

OU admitted that he is a “WeChat distributor of meat, poultry, seafood, and other food products


                                                9
 Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 11 of 28 PageID #: 11




from [China]” who agreed to receive goods from certain originators and rented the freezer to

store them. OU admitted that the originators “coordinate the logistics” of transporting the goods,

and his “main job [is] to find a place to store the products [and] then sell them.” Specifically,

OU indicated that the originators “hired a man to pickup the two shipments [described above]

from JFK International Airport and transport them to [his] storage location.”

               31.     The defendants MING HUANG CHEN, MINGHAO LIN, and

SHANQING OU significantly increased their telephone communications around the times of the

shipments. For example, toll records show MINGHAO and OU exchanged only one phone call

from January 2021 to July 2022, but that they exchanged approximately thirty calls from August

25, 2022 to August 30, 2022, the period surrounding the delivery of the August 19 Shipment.

There was then a lull until mid-October 2022, and the pair then exchanged eleven calls from

November 3, 2022 through November 5, 2022, the period surrounding the delivery of the

November 4 Shipment. MINGHAO and CHEN maintained very frequent telephone contact

throughout this entire period as well, and their calls usually preceded MINGHAO’s calls to OU.

           f. The May 25 and 29 Shipments

               32.     On or about May 25, 2023, the defendant HANGMING FANG and his

company, Chu Food, received approximately 5,595 pounds of illegal Hao Ya Shuang brand duck

blood products (the “May 25 Shipment”) from a WeChat seller based in California (the “WeChat

Seller”). Approximately four days later, FANG and Chu Food sold approximately 132 pounds of

these illegal duck blood products to a restaurant in Flushing, Queens, which then sold

approximately 132 pounds of the illegal merchandise to their customers.

               33.     On or about May 29, 2023, a shipment was sent from LAX to JFK via

Airline-1 (the “May 29 Shipment”). Airline-1 records identify the shipper as 668 Seafood and




                                                 10
 Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 12 of 28 PageID #: 12




the recipient as JNJ Food Trading Inc. According to Airline-1 records, a “Minghao Lin” with

“JNJ Food Trading” collected the shipment from JFK the following day. A receipt confirmation

for this shipment was sent to the defendant MINGHAO LIN’s email. The next day, the

defendant HANGMING FANG and his company, Chu, received approximately 666 pounds of

illegal The Smell of Maple spicy duck intestine from the WeChat Seller.

               34.     When confronted by Investigator-2 about the shipments, FANG stated that

the defendant HANGTING LIN delivered the May 29 Shipment to him. FANG admitted that the

meat and poultry products in the Chu Food garage had been illegally imported from China and

that he had offered them for sale to others. FANG also admitted that he destroyed evidence

documenting his receipt of illegal merchandise to conceal his activities. FANG also indicated

that the originators of this shipment coordinated its delivery through the transporters.

               35.     The defendants MING HUANG CHEN, HANGTING LIN and

MINGHAO LIN significantly increased their telephone communications around the time of the

shipments. For example, toll records show no calls between HANGTING and MINGHAO from

at least May 8 until May 18, 2023. Toll records then show these two exchanged twelve calls

between May 18 and May 25, the date of the May 25 Shipment, including five calls on May 25,

which were interspersed with calls between CHEN and MINGHAO. Similarly, toll records

between CHEN and HANGTING show they exchanged at least thirty calls between May 23 and

May 26, 2023, with calls continuing through the date of the May 29 Shipment.

               36.     On or about June 13, 2023, a USDA Officer visited Chu Food and

observed and seized illegal meat and poultry merchandise originating from China that were

being offered for sale. In total, Chu Food’s garage contained approximately 6,496 pounds of




                                                 11
 Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 13 of 28 PageID #: 13




illegal goose, duck, pork and beef merchandise, the current street value of which is estimated at

approximately $147,300.

           g. The Defendants’ Willfulness

               37.    Each defendant knew of the illegal nature of their conduct. For example,

the defendants MING HUANG CHEN, RUNHUA HOU, HANGTING LIN, MINGHAO LIN

and SHANQING OU were each either personally warned by FSIS personnel, or present at a

meeting at which another person was warned, of the applicable regulations prior to engaging in

at least one shipment of illegal merchandise identified above, and the defendant HANGMING

FANG, when confronted, admitted to Investigator-2 that he took steps to conceal his activities.

               38.    In addition, shipment records for the companies involved in the shipments

of illegal merchandise described above indicate a broader conspiracy than just the shipments that

have been identified to date. Airline-1 records show that 668 Seafood, for example, made 62

shipments, with a total net weight of 52,756.40 kilograms, from LAX to JFK—the path of the

four identified shipments of illegal merchandise—from on or about June 13, 2022, until on or

about January 27, 2024.

               39.    Law enforcement has only reviewed the contents of four of those

shipments—the August 19, November 4, May 25 and May 29 Shipments—but, as explained

above, each of those four shipments appeared to contain illegal merchandise. Moreover, details

from Airline-1 records regarding the most recent shipments confirm they bear similarities to the

identified shipments of illegal merchandise. For example:

                      a.      Airline-1 transported a January 2, 2024, shipment from 668

Seafood to Minghua Food Trading Inc., a company registered to a prior address of the

defendants MING HUANG CHEN and RUNHUA HOU. Airline-1 records identify the




                                                12
 Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 14 of 28 PageID #: 14




defendant MINGHAO LIN as having collected the shipment from JFK, and HOU is named as

the “individual at the shipper’s facility or authorized representative that detail is collected from”

on an Airline-1 “U.S. Security Form.” Records of x-ray images taken of the packages show that

they contain packages of goods that are consistent with the shape and size of other illegal

merchandise seized from the defendants, as depicted in Exhibit 8 below.

                       b.        Airline-1 also transported a January 27, 2024, shipment from 668

Seafood to “JNJ Seafood,” the same entity listed as the recipient of the November 4 and May 29

Shipments. Airline-1 records show that the defendant MINGHAO LIN’s phone number is again

listed for the shipper, that RUNHUA HOU is again named as the “individual at the shipper’s

facility or authorized representative that detail is collected from” on the Airline-1 “U.S. Security

Form” and the shipment is also manifested as containing “seafood.” However, records of x-ray

images taken of the packages show that they contain goods that appear to be stacked, round balls

that are consistent with the shape and size of products similar to the hawthorn fruit that was

identified in the November 19 Shipment, as depicted in Exhibit 9 below.




                     Exhibit 8                                      Exhibit 9

               40.     Google accounts belonging to the defendants MING HUANG CHEN,

RUNHUA HOU and HANGTING LIN each also contain images of invoices and other financial

documents reflecting the sale of illegal merchandise (e.g., duck blood) during the relevant



                                                  13
 Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 15 of 28 PageID #: 15




period, and HANGTING’s account also contained what appear to be spreadsheets of transactions

between himself and CHEN that reflect transactions involving additional illegal merchandise

(e.g., goose intestines) as recently as December 2023 and January 2024.

               WHEREFORE, your deponent respectfully requests that an arrest warrant be issued

for the defendants MING HUANG CHEN, RUNHUA HOU, HANGTING LIN, MINGHAO LIN,

SHANQING OU and HANGMING FANG, so that they may be dealt with according to law.

               IT IS FURTHER REQUESTED that this Court issue an order sealing, until

further order of the Court, all papers submitted in support of this application, including this

Affidavit and any arrest warrants issued, with the exception that the complaint and arrest warrant

can be unsealed for the limited purpose of disclosing the existence of, or disseminating, the

complaint and/or arrest warrant to relevant United States, foreign or intergovernmental

authorities, at the discretion of the United States and in connection with efforts to prosecute the

defendant or to secure the defendant’s arrest, extradition or expulsion. Based on my training and

experience, I have learned that criminals actively search for criminal affidavits on the Internet

and disseminate them to other criminals as they deem appropriate, such as by posting them

publicly through online forums. Premature disclosure of the contents of this Affidavit and

related documents will seriously jeopardize the investigation, including by giving targets an




                                                 14
 Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 16 of 28 PageID #: 16




opportunity to flee, destroy or tamper with evidence, change patterns of behavior and notify

confederates.




                                                    LUIGI STOLFA
                                                    Special Agent
                                                    U.S. Department of Agriculture
                                                    Office of Inspector General

Sworn to before me this
4th day of March, 2024


____________________________________________
THE HONORABLE CHERYL L. POLLAK
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK




                                               15
              Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 17 of 28 PageID #: 17
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                 __________   Districtofof
                                                                        New  York
                                                                           __________

                  United States of America
                             v.                                     )
                      Ming Huang Chen,                              )        Case No.    24-MJ-196
                  also known as "Joe Chen"                          )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Ming Huang Chen, also known as "Joe Chen"                                                           ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 371 (conspiracy to unlawfully import merchandise into the United States and receive, conceal, buy, sell and
  facilitate the transportation, concealment, and sale of illegally imported merchandise)




Date:         03/04/2024
                                                                                           Issuing officer’s signature

City and state:       Brooklyn, New York
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
               Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 18 of 28 PageID #: 18
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
              Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 19 of 28 PageID #: 19
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                 __________   Districtofof
                                                                        New  York
                                                                           __________

                  United States of America
                             v.                                    )
                        Hang Ming Fang                             )        Case No.    24-MJ-196
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Hang Ming Fang                                                                                     ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information             ✔ Complaint
                                                                                                                     u
u Probation Violation Petition             u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 371 (conspiracy to unlawfully import merchandise into the United States and receive, conceal, buy, sell and
  facilitate the transportation, concealment, and sale of illegally imported merchandise)




Date:         03/04/2024
                                                                                          Issuing officer’s signature

City and state:       Brooklyn, New York
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title
               Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 20 of 28 PageID #: 20
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




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                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
              Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 21 of 28 PageID #: 21
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                 __________   Districtofof
                                                                        New  York
                                                                           __________

                  United States of America
                             v.                                     )
                        Runhua Hou,                                 )        Case No.    24-MJ-196
                also known as "Racheal Hou"                         )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Runhua Hou, also known as "Racheal Hou"                                                             ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 371 (conspiracy to unlawfully import merchandise into the United States and receive, conceal, buy, sell and
  facilitate the transportation, concealment, and sale of illegally imported merchandise)




Date:         03/04/2024
                                                                                           Issuing officer’s signature

City and state:       Brooklyn, New York
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
               Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 22 of 28 PageID #: 22
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




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                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
              Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 23 of 28 PageID #: 23
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Eastern District
                                                    __________   Districtofof
                                                                           New  York
                                                                              __________

                  United States of America
                             v.                                       )
                          Hangting Lin                                )        Case No.    24-MJ-196
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Hangting Lin                                                                                          ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment           u Information        u Superseding Information             ✔ Complaint
                                                                                                                        u
u Probation Violation Petition              u Supervised Release Violation Petition         u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 371 (conspiracy to unlawfully import merchandise into the United States and receive, conceal, buy, sell and
  facilitate the transportation, concealment, and sale of illegally imported merchandise)




Date:         03/04/2024
                                                                                             Issuing officer’s signature

City and state:       Brooklyn, New York
                                                                                               Printed name and title


                                                                    Return

           This warrant was received on (date)                            , and the person was arrested on (date)
at (city and state)                                             .

Date:
                                                                                            Arresting officer’s signature



                                                                                               Printed name and title
               Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 24 of 28 PageID #: 24
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




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                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
              Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 25 of 28 PageID #: 25
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                   __________   Districtofof
                                                                          New  York
                                                                             __________

                  United States of America
                             v.                                      )
                          Minghao Lin                                )        Case No.    24-MJ-196
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Minghao Lin                                                                                          ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information             ✔ Complaint
                                                                                                                       u
u Probation Violation Petition              u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 371 (conspiracy to unlawfully import merchandise into the United States and receive, conceal, buy, sell and
  facilitate the transportation, concealment, and sale of illegally imported merchandise)




Date:         03/04/2024
                                                                                            Issuing officer’s signature

City and state:       Brooklyn, New York
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
               Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 26 of 28 PageID #: 26
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




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                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
              Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 27 of 28 PageID #: 27
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                   __________   Districtofof
                                                                          New  York
                                                                             __________

                  United States of America
                             v.                                      )
                          Shanqing Ou                                )        Case No.    24-MJ-196
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Shanqing Ou                                                                                          ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information             ✔ Complaint
                                                                                                                       u
u Probation Violation Petition             u Supervised Release Violation Petition         u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 371 (conspiracy to unlawfully import merchandise into the United States and receive, conceal, buy, sell and
  facilitate the transportation, concealment, and sale of illegally imported merchandise)




Date:         03/04/2024
                                                                                            Issuing officer’s signature

City and state:       Brooklyn, New York
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
               Case 1:24-mj-00196-CLP Document 1 Filed 03/04/24 Page 28 of 28 PageID #: 28
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
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                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
